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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION




FEDERAL TRADE COMMISSION                 Case No. 1:23-cv-03053

STATE OF CALIFORNIA

STATE OF ILLINOIS
                                         Judge John F. Kness
STATE OF MINNESOTA

STATE OF NEW YORK

STATE OF WASHINGTON

and

STATE OF WISCONSIN

                        Plaintiffs,


             v.

AMGEN INC.

And

HORIZON THERAPEUTICS PLC.

                        Defendants.



         PLAINTIFFS’ STATEMENT IN ADVANCE OF PRELIMINARY
                       PRETRIAL CONFERENCE
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        On August 25, 2023, the Plaintiffs and Defendants jointly requested a preliminary pretrial

conference to address certain issues concerning scheduling and presentation of evidence. See

ECF No. 142. Plaintiffs provide below their positions on the relevant issues.

    1. The schedule for and anticipated length of the evidentiary hearing.

    The parties agree that the evidentiary hearing should begin no earlier than September 13.

Subject to the Court’s preference for the length of trial days, in Plaintiffs’ view it is practicable to

begin the evidentiary hearing on September 14 or 15 and still conclude the hearing no later than

September 22. Plaintiffs estimate they will require less than 18 hours to present testimony from

live witnesses, inclusive of cross-examination of Defendants’ witnesses as well as any necessary

rebuttal testimony. Plaintiffs anticipate that if necessary at all, fewer than two additional hours

will be required for Plaintiffs to present deposition testimony by designation, inclusive of

counter-designations. Assuming that Defendants are granted an equal amount of time, and that

the Court desires to hear opening statements and closing arguments that consume a total of three

hours or less, the evidentiary hearing can be concluded in fewer than eight days.

        Plaintiffs believe that the parties can achieve a streamlined presentation due to the

relatively narrow issues presented by this case. First, the relevant antitrust markets in which the

Court should assess the transaction do not appear to be seriously disputed. While Defendants

have declined to jointly stipulate that the relevant antitrust markets are the sale within the United

States of FDA-approved drugs to treat Thyroid Eye Disease (“TED”) and Chronic Refractory

Gout (“CRG”), see Compl., ECF No. 20, at ¶¶ 37, 46, 47, Defendants did not attempt to

undermine Plaintiffs’ proposed relevant markets in their Opposition to Plaintiffs’ Motion for a

Preliminary Injunction. See ECF No. 130. Further, Defendants’ expert reports neither dispute

Plaintiffs’ proposed relevant markets nor argue that alternative antitrust markets might be



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appropriate. Thus, Plaintiffs expect that limited time during the evidentiary hearing will be

required to carry Plaintiffs’ burden of proof regarding the relevant markets alleged in the

Complaint, despite Defendants’ refusal to stipulate on the issue.

        Second, Plaintiffs believe that minimal time will be required to establish Horizon’s

monopoly power within the relevant markets. There is no dispute that Horizon is the only

provider within the United States of drugs currently approved by the FDA for the treatment of

TED and CRG (i.e., Tepezza and Krystexxa, respectively). See Defendants’ Answer, ECF No.

77, at ¶¶ 40, 48.

        Third, based on the preliminary witness lists exchanged between the parties, no more

than 11 fact witnesses will testify at the evidentiary hearing. Plaintiffs intend to call live at the

hearing at most seven fact witnesses, and Defendants have identified four additional fact

witnesses. In addition to fact witnesses, Plaintiffs intend to call during their case-in-chief four

expert witnesses: Plaintiffs anticipate that three of these four will require little time because, as

noted above, the appropriate relevant market is not seriously disputed. Defendants have

identified six expert witnesses that they may call at the hearing: based on a review of these

experts’ reports, Plaintiffs anticipate that Defendants’ experts largely will offer testimony that is

overlapping or entirely duplicative, and Plaintiffs anticipate that any cross-examination will not

require significant trial time. Finally, depending on how the Court resolves the issue of rebuttal

witnesses (discussed below) and any evidentiary disputes, if necessary Plaintiffs may call one

additional expert witness in rebuttal and may also call in rebuttal one of their affirmative experts.

    2. The date/time for the final pretrial conference, and date for submission of proposals
       regarding a final pretrial order.

        Plaintiffs request that the final pretrial conference take place close in time to the start of

the evidentiary hearing. Accordingly, in the event that the Court determines that the evidentiary


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hearing should begin on September 14 or 15, Plaintiffs request that the final pretrial conference

take place on September 13 or 14.

       Plaintiffs understand that one of the attorneys representing Amgen cannot accommodate

a final pretrial conference on September 11 or 12. To accommodate Amgen’s counsel, in the

event that the Court determines that the evidentiary hearing should begin on September 13,

Plaintiffs will join Defendants in a request for a final pretrial conference on September 8.

       Plaintiffs’ position is that the parties’ proposals for a final pretrial order should be

submitted two business days prior to the final pretrial conference.

    3. Whether the parties can cite in post-trial findings to testimony that was taken
       during investigational hearings or depositions and was not designated in advance of,
       or presented to the Court during, the evidentiary hearing.

       a. The Court should consider testimony taken during investigational hearings

       The Court should consider Plaintiffs’ request for a preliminary injunction in light of all of

the evidence that will be available in the administrative proceeding to the ultimate finder of fact,

as this Court’s role is to assess whether Plaintiffs have “raise[d] substantial doubts” about the

proposed transaction – that is, “questions going to the merits so serious, substantial, difficult and

doubtful as to make them fair ground for thorough investigation, study, deliberation and

determination by the FTC in the first instance and ultimately by the Court of Appeals.” FTC v.

Advoc. Health Care, No. 15 C 11473, 2017 WL 1022015, at *2 (N.D. Ill. Mar. 16, 2017)

(quotations omitted). The evidence that will be available to the Commission, which will act as

the ultimate finder of fact during the administrative proceeding, will include all of the sworn

testimony taken in pre-Complaint investigational hearings and all of the testimony taken in

depositions following the filing of the Complaint. See 16 C.F.R. § 3.43(b). 1 This Court should
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       “If otherwise meeting the standards for admissibility described in this paragraph,

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not overlook testimony taken during investigational hearings, as this would risk forcing the Court

to consider an incomplete record when assessing Plaintiffs’ likelihood of “success on the merits

in the underlying administrative proceeding.” FTC v. Meta Platforms Inc., No. 5:22-cv-04325,

2022 WL 16637996, at *6 (N.D. Cal. Nov. 2, 2022) (“Section 13(b)’s ‘likelihood of ultimate

success’ inquiry [means] the likelihood of the FTC’s success on the merits in the underlying

administrative proceedings”). For this reason, federal courts in similar cases in which the FTC

has sought a preliminary injunction have routinely considered testimony offered during

depositions and investigational hearings. See, e.g., FTC, et al. v. Thomas Jefferson Univ., et al.,

20-cv-01113 (E.D. Pa. Sept. 10, 2020), Dkt. No. 224 (permitting FTC to present investigational

hearing testimony because “part of the Court’s role in the preliminary injunction proceeding will

be to determine Plaintiffs’ likelihood of success on the merits in the administrative

adjudication”); FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865, 897 (E.D. Mo. 2020)

(court’s opinion citing to an “IH” (i.e., Investigational Hearing) transcript). This Court should do

the same.

       To the extent that Defendants have objections to any testimony offered during an

investigational hearing or deposition, Defendants should file an appropriate motion in limine, to

which Plaintiffs should have an opportunity to respond.

       b. The Court should not require the parties to either present at the evidentiary
          hearing or designate in advance of trial all testimony that might be cited in post-
          trial findings of fact

       Defendants appear to propose that the Court should not allow the parties to cite in post-

trial proposed findings any testimony from depositions or investigational hearings that is not



depositions, investigational hearings, prior testimony in Commission or other proceedings,
expert reports, and any other form of hearsay, shall be admissible and shall not be excluded
solely on the ground that they are or contain hearsay.” 16 C.F.R. § 3.43(b).
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presented live at the evidentiary hearing. This would impose an unwarranted burden on the

Court. Plaintiffs’ goal is to ensure that testimony presented during the evidentiary hearing focus

on the crux of the issues in dispute, as it would waste the Court’s time to present deposition

testimony during the evidentiary hearing that relates to peripheral points. Presumably,

Defendants share this goal. Moreover, each party will undoubtedly attempt to present during the

evidentiary hearing the testimony that the party deems most salient and persuasive.

        As a practical matter, a large amount of testimony has been developed during

investigational hearings and depositions that is repetitive of testimony that will likely be

provided by live witnesses during the evidentiary hearing, or relates to minor points that do not

illuminate the core issues facing the Court. It would waste the parties’ resources to designate

and counter-designate, in advance of the hearing, a large quantity of testimony to guard against a

remote chance that similar testimony is not developed during the evidentiary hearing, or to

designate and counter-designate testimony that relates to minor points. For this reason, the Court

should not require designations, in advance of the evidentiary hearing, of the testimony that the

parties may cite in post-trial findings of fact.

        To be clear: Plaintiffs agree with Defendants that any deposition or investigational

hearing testimony that will be presented to the Court during the evidentiary hearing should be

subject to pre-hearing designations and counter-designations. The parties have discussed a

schedule for exchanging such designations and counter-designations, to ensure that the Court is

not presented with snippets of testimony that might, due to incompleteness, create a risk of

misleading the Court. However, testimony cited in post-trial findings of fact does not create a

similar risk, because the entire deposition transcript will be available for the Court’s review.




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   4. Whether Plaintiffs are entitled to present rebuttal witnesses following the close of
      Defendants’ case.

       It would create inefficiency for the Court to determine, in advance of the evidentiary

hearing, that Plaintiffs should not have any opportunity to present rebuttal witnesses following

the close of Defendants’ case. Key issues on which Plaintiffs may wish to present rebuttal

witnesses relate to Defendants’ thirteen affirmative defenses, on which Defendants bear the

burden of proof. It would be inefficient to require Plaintiffs to “pre-but” during their case-in-

chief every conceivable argument Defendants might make—it will likely benefit the Court to

allow Plaintiffs to focus their case-in-chief on the issues on which Plaintiffs bear the burden of

proof, and then to allow Plaintiffs to assess after the close of Defendants’ case which, if any, of

Defendants’ affirmative defenses merit rebuttal.

       In this instance, it will be particularly inefficient to force Plaintiffs to “pre-but”

Defendants’ affirmative defense claiming that the proposed transaction might be justified based

on efficiencies, Answer at 33, notwithstanding the fact that an efficiencies “defense has never

been sanctioned by the Supreme Court,” Advoc. Health Care, 2017 WL 1022015 at *12.

Plaintiffs cannot effectively “pre-but” all of the various supposed efficiencies Defendants have

claimed, as a number of Defendants’ claimed efficiencies are ill-defined and legally or factually

insupportable. Defendants’ presentation at the evidentiary hearing will presumably narrow and

focus their assertions on the supposed efficiencies that Defendants view as most likely to

persuade the Court. Further, a number of Defendants’ assertions may fall apart during

Defendants’ case based on Plaintiffs’ cross examination of Defendants’ witnesses, such that

Plaintiffs will determine that it is unnecessary to proffer any expert testimony to address the

supposed efficiency. Permitting Plaintiffs to address Defendants’ claims in rebuttal may thus

spare the Court and the parties from needing to address some of Defendants’ more implausible

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claimed efficiencies that are clearly not “merger specific” or “verifiable.” FTC v. Penn State

Hershey Med. Ctr., 838 F.3d 327, 349 (3d Cir. 2016).

        Moreover, Plaintiffs’ proposal does not require the Court to hear from rebuttal witnesses;

it merely preserves the possibility of a rebuttal case in the event that one is necessary. After the

close of Defendants’ case, the Court can determine and control the scope of any rebuttal case that

Plaintiffs might be allowed to offer. At that point both the Court and the Plaintiffs will be in a

better position than they are at present—when Defendants’ proof regarding efficiencies has not

yet been proffered— to decide whether testimony from one of Plaintiffs’ experts might prove

illuminating regarding any particular supposed efficiency. Plaintiffs’ proposal thus provides the

Court with the opportunity to increase the efficiency of the hearing based on more-complete

information, while Defendants have not suggested to Plaintiffs any reason that a prohibition on

rebuttal witnesses would increase the efficiency of the hearing or conserve judicial resources.

   5. Page limits on post-trial proposed findings of fact and conclusions of law.

        The parties have agreed that the Court need not address this issue during the preliminary

pretrial conference. The parties will continue to meet and confer after Plaintiffs serve their

rebuttal expert reports and submit their Reply brief supporting a preliminary injunction, and

present either an agreed-upon proposal or competing proposals at the final pretrial conference.

   6.   Numerical limits on the number of exhibits.

        The parties have agreed that this issue need not be addressed during the preliminary

pretrial conference. The parties will exchange preliminary exhibit lists limited to 200 exhibits,

and both parties anticipate that their final exhibit lists will contain fewer than 200 exhibits.




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Dated: August 28, 2023              Respectfully submitted,

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